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                                                                                                                        CO 538
                                                                                                                        Rev. 2/2010

                 UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                          FOR THE DISTRICT OF COLUMBIA
KELLI D. HAKE, et al.,
____________________________________
         Plaintiff(s)

         vs.                                                                                                     17-cv-114 (ESH)
                                                                                               Civil Action No. _______________


 BANK MARKAZI JOMHOURI ISLAMI IRAN, et al.,
___________________________________________
       Defendant(s)



                                      AFFIDAVIT IN SUPPORT OF DEFAULT
                                                         6th
         I hereby certify under penalty of perjury, this ________        July
                                                                  day of _________________, 2017
                                                                                            ________, that I am the attorney
of record for the plaintiff in the above-entitled case; that the defendant(s)
National Iranian Oil Company
_____________________________________________________________________________________________________
was [were] (select one):
         
         ✔                                           May 6, 2017 via DHL
                   personally served with process on ______________________________________.


                  served via registered or certified mail pursuant to provisions of Rule 4(C)(ii) of the Superior Court of the
                   District of Columbia on (date the return receipt was signed by addressee): ___________________________.


                  served via First Class Mail pursuant to provisions of Rule 4(C)(ii) of the Federal Rules of Civil Procedure on
                   (date the Acknowledgment Form was signed by addressee): ______________________________________.


         
         ✔         The authority for obtaining personal jurisdiction over the defendant served outside the District of Columbia
                       28 U.S. Code § 1608(b)(3)(B)
                   is: ________________________________________________________.


         I further certify under penalty of perjury that: no appearance has been entered by said defendant(s) in this case; no
pleading has been filed and none served upon the attorney for the plaintiff(s); (select one)
         
         ✔         no extension has been given and the time for filing has expired
                  although an extension has been given, the time for filing has expired;
and the defendant is neither an infant nor an incompetent person.


         The Clerk is requested to enter a Default against said defendant(s).

                                                                                /s/ William A. Friedman
                                                                                ______________________________________
                                                                                     Attorney for Plaintiff(s) [signature]
                                                                                William A. Friedman
                                                                                ______________________________________
                                                                                OSEN LLC
                                                                                ______________________________________
                                                                                2 University Plaza, Suite 402
                                                                                ______________________________________
                                                                                Hackensack, N.J. 07601
                                                                                ______________________________________
NJ012
____________________
                                                                                201-265-6400
                                                                                ______________________________________
Bar Id. Number                                                                     Name, Address and Telephone Number
